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                   UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                       SAN ANTONIO DIVISION
CARLOS ANTONIO RAYMOND           §
                                 §
v.                               §     CIVIL ACTION NO. 19-CV-596-OG
                                 §
J.P. MORGAN CHASE BANK and       §
FLAGSTAR BANK                    §


              ORDER GRANTING DEFENDANTS’ JOINT MOTION TO STRIKE

           CAME ON TO BE HEARD Defendants JPMorgan Chase Bank, N.A. and Flagstar Bank,

FSB’s (collectively referred to herein as “Defendants”) Joint Motion to Strike Plaintiff’s Notice

of Motion for Judicial Review in Response to Motion for More Time and Motion to Dismiss (the

“Motion”).

           Having considered the Motion and the response thereto, if any, the Court finds that the

Motion should be GRANTED in full.

           IT IS THEREFORE ORDERED that Plaintiff’s Notice of Motion for Judicial Review in

Response to Motion for More Time and Motion to Dismiss [Doc 57] is hereby stricken from the

record.

           Dated this _____ day of ________________________, 2019.



                                               ___________________________________
                                               JUDGE PRESIDING




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